            Case 2:18-mj-00361-VCF           Document 39        Filed 05/14/18      Page 1 of 2




                                     UNITED STATES DISTRICT COURT
1
                                            DISTRICT OF NEVADA
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      UNITED STATES OF AMERICA,                              Case No. 2:18-mj-00361-VCF
4
                            Plaintiff,                       ORDER
5     vs.
6
                                                             MOTION TO DISMISS [ECF NO. 36]
      LUIS REYES-CASTILLO,
7
                            Defendant.
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9            Before the Court is the Government’s Motion to Dismiss the criminal complaint against
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     Defendant Luis Reyes-Castillo without prejudice. (ECF No. 36). For the reasons stated below, the
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     Government’s motion is granted.
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            The Government filed its motion to dismiss on May 11, 2018. (ECF No. 36). Reyes-Castillo has
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     been indicted in the Eastern District of California for unrelated crimes, and the Government moves to
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     dismiss the instant criminal complaint so he can be transferred to California. (Id. at 2). On May 14, 2018,
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     Reyes-Castillo filed a notice of non-opposition to the motion. (ECF No. 38).
16
            “The government may, with leave of court, dismiss an indictment, information, or complaint.”
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18   Fed. R. Crim. P. 48(a). “The failure of an opposing party to include points and authorities in response to

19   any motion constitutes a consent to granting the motion.” LCR 47-3.

20          Based on the reason outlined in the Government’s motion, the Court will grant leave to dismiss

21   the complaint against Reyes-Castillo without prejudice.       Reyes-Castillo’s notice of non-opposition
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     constitutes consent for the granting of the Government’s motion.
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            Accordingly, and for good cause shown,
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           Case 2:18-mj-00361-VCF        Document 39     Filed 05/14/18    Page 2 of 2




           IT IS ORDERED that the Government’s Motion to Dismiss the criminal complaint against
1
     Defendant Luis Reyes-Castillo without prejudice (ECF No. 36) is GRANTED.
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           DATED this 14th day of May, 2018.

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                                                           _________________________
5                                                          CAM FERENBACH
                                                           UNITED STATES MAGISTRATE JUDGE
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